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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

Maxwell Little, et al.,
                                                                   No. 1:18-CV-06954
                           Plaintiffs,

         v.                                                    Honorable Virginia M. Kendall

JB Pritzker for Governor, et al.,

                           Defendants.



    NON-PARTY JB PRITZKER AND DEFENDANT JULIANA STRATTON’S MOTION
                        FOR PROTECTIVE ORDER

         Non-party JB Pritzker and Defendant Juliana Stratton (collectively, the “Moving

Parties”), by and through their undersigned counsel, move the Court to enter a protective order to

prevent Plaintiffs from taking Mr. Pritzker’s deposition and to limit in both time and scope

Plaintiffs’ deposition of Ms. Stratton. 1
1.       After months of discovery, Maxwell Little, Jason Benton, Jelani Coleman, Celia Colón,

Kasmine Calhoun, Erica Kimble, Nathaniel Madison, Tiffany Madison, James B. Tinsley, Mark

Walker, Kayla Hogan, and Eric Chaney (collectively, “Plaintiffs”) noticed the deposition of non-

party and current Governor of Illinois JB Pritzker. They also noticed the deposition of Defendant

Juliana Stratton, who is the current Lieutenant Governor of Illinois.




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  Before filing this motion, Defendants’ counsel met and conferred with Plaintiffs’ counsel via phone on January 14,
2020, at 4:30 p.m. Central time to discuss Plaintiffs’ intended depositions of Mr. Pritzker and Ms. Stratton. See
Local Rules N.D. Ill. LR 37.2; Declaration of William B. Stafford in Support of Motion for a Protective Order
(“Stafford Decl.”) ¶ 13. The Moving Parties’ efforts to resolve the impasse regarding Plaintiffs’ intended depositions
short of seeking the Court’s intervention are more fully detailed in the LR 37.2 certification in the memorandum
filed in support of this motion and in the Declaration of William B. Stafford in Support of Motion for a Protective
Order, both of which accompany this motion.

The Moving Parties have noticed their Motion for presentment on the first permissible and available Court date after
they had an opportunity to meet and confer with Plaintiffs and taking into consideration the Martin Luther King, Jr.
holiday on January 20, 2020, and the Court’s subsequent availability. See id.


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2.        Plaintiffs have also noticed other depositions—of Defendant JB Pritzker for Governor

(the “Campaign”); the former Campaign Manager; the former Deputy Campaign Manager; and

five former Campaign employees—but have not yet taken any of those depositions.

3.        Defendants have also already made extensive document productions from September

2019 to January 2020 consisting of nearly 6,000 pages of documents.

4.        Mr. Pritzker has no meaningful personal knowledge related to Plaintiffs’ claims. Further,

he was dismissed as a defendant in this lawsuit many months ago, and Plaintiffs are able to

obtain relevant discovery from other sources—through the thousands of pages of documents they

have received and the depositions they intend to take of senior Campaign staff and non-senior

Campaign employees. Plaintiffs nonetheless insist on deposing Mr. Pritzker, the current

Governor of Illinois and the Campaign’s key figure. They have offered no compelling reason

why such an “apex” deposition is necessary.

5.        As to Ms. Stratton, all claims against her have been dismissed save certain Plaintiffs’

defamation claim. Accordingly, and given her role on the Campaign and the fact that she is the

sitting Lieutenant Governor, Defendants asked Plaintiffs to agree to limit Ms. Stratton’s

deposition to a half-day on subject matter relevant to the remaining claim against her. Plaintiffs

refused. As with Mr. Pritzker, Plaintiffs have not articulated a persuasive reason to take a wide-

ranging deposition of Ms. Stratton.

6.        That Mr. Pritzker and Ms. Stratton currently occupy the highest public offices in Illinois

only brings into starker relief the potential for harassment and abuse that the depositions would

create.

7.        The Moving Parties request that the Court enter an order (1) prohibiting Plaintiffs from

deposing Mr. Pritzker and (2) limiting the scope of Ms. Stratton’s deposition to only the

defamation claim and related allegations and the time of the deposition to no more than three

hours total.

8.        In the alternative, the Moving Parties request that the Court defer ruling on this motion

until after Plaintiffs take the 30(b)(6) depositions of the Campaign, the former Campaign

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Manager, the former Deputy Campaign Manager, and other former Campaign employees or at

the very least, require that any inquiry of Mr. Pritzker and Ms. Stratton as to Plaintiffs’

discrimination and harassment claims be by no more than seven written interrogatories or written

deposition questions.

         WHEREFORE, for the reasons in the Memorandum filed concurrently herewith, the

Moving Parties respectfully ask the Court to grant their motion for a protective order.

Dated: January 15, 2020                                Respectfully Submitted,

                                                       NON-PARTY JB PRITZKER AND
                                                       DEFENDANT JULIANA STRATTON


                                                       By:    /s/ William B. Stafford
                                                               One of Their Attorneys

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                                 CERTIFICATE OF SERVICE

         I, William B. Stafford, certify that on January 15, 2020, a copy of the foregoing was sent

via the Court’s electronic filing system and email to the following:

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                                                      By: /s/ William B. Stafford




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